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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    FRANCINE ZEPEDA, Bar #091175
     Assistant Federal Defender
3    Designated Counsel for Service
     JEREMY KROGER, Bar #258956
4    Assistant Federal Defender
     2300 Tulare Street, Suite 330
5    Fresno, California 93721-2226
     Telephone: (559) 487-5561
6
     Attorney for Defendant
7    RUDOLPH BUENDIA, III

8
9                                  IN THE UNITED STATES DISTRICT COURT

10                                FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12
     UNITED STATES OF AMERICA,             )
13                                         )              No. 1:10-cr-00285 OWW
                   Plaintiff,              )
14                                         )              DEFENDANT’S STIPULATION TO RESET
             v.                            )              MOTIONS SCHEDULE AND HEARING, AND
                                           )              ORDER
15   JOSEPH CUELLAR, et al.,               )
                                           )              DATE: September 6, 2011
16                 Defendant.              )              TIME: 1:30 p.m.
     _____________________________________ )              JUDGE: Oliver W. Wanger
17
18             IT IS HEREBY STIPULATED and agreed by the parties, through their respective
19   undersigned counsel, that:
20     1.      The presently set August 22, 2011, motions hearing date shall be continued by two weeks to
21   September 6, 2011, at 1:30 p.m. Accompanying filing deadlines shall similarly be continued by two
22   weeks.
23     2.      This case is unusual and complex based on the voluminous discovery involved in this case and
24   it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within the time
25   limits established in the Speedy Trial Act, 18 U.S.C. § 3161.
26     3.      The continuance requested herein is necessary to provide defense counsel reasonable time to
27   prepare their respective clients’ defenses taking into account due diligence within the meaning of the
28   Speedy Trial Act.
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1          4.    Time from the date of this stipulation, July 11, 2011, to and including the motions hearing date,
2    September 6, 2011, shall be excluded from computation of time within which the trial of this case must be
3    commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv), and
4    Local Codes T2 (unusual and complex case) and T4 (reasonable time for defense counsel to prepare).
5
6                                                                     BENJAMIN B. WAGNER
                                                                      United States Attorney
7
8    DATED: July 12, 2011                                       By     /s/ Samuel Wong
                                                                      SAMUEL WONG
9                                                                     Assistant United States Attorney
                                                                      Attorney for Plaintiff
10
11                                                                    DANIEL J. BRODERICK
                                                                      Federal Defender
12
13   DATED: July 12, 2011                                       By     /s/ Jeremy S. Kroger
                                                                      JEREMY S. KROGER
14                                                                    FRANCINE ZEPEDA
                                                                      Assistant Federal Defenders
15                                                                    Attorneys for Defendant
                                                                      Rudolph Buendia, III
16
17   DATED: July 12, 2011                                       By     /s/ Douglas C. Foster
                                                                      DOUGLAS C. FOSTER
18                                                                    Ciummo and Associates
                                                                      Attorney for Defendant
19                                                                    Joseph Cuellar
20         DATED: July 12, 2011                                 By     /s/ Cadee Peters
                                                                      CADEE PETERS
21                                                                    Cadee Peters Attorney at Law
                                                                      Attorney for Defendant
22                                                                    Patrick Bowman
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///


     Stipulation to Continue Motions Schedule
     and Hearing; Order                                     2
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1                                                        ORDER
2               The Court, having received, read, and considered the stipulation of the parties, and good cause
3    appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the
4    stipulation of the parties and the recitation of facts contained therein, the Court finds that this case is
5    unusual and complex and that it is unreasonable to expect adequate preparation for pretrial proceedings
6    and trial itself within the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically
7    finds that the failure to grant a continuance in this case would deny defense counsel reasonable time
8    necessary for effective preparation, taking into account the exercise of due diligence. The Court finds that
9    the ends of justice to be served by granting the requested continuance outweigh the best interests of the
10   public and the defendants in a speedy trial.
11              The Court orders that the time from the date of the parties’ stipulation, July 11, 2011, to and
12   including September 6, 2011, shall be excluded from computation of time within which the trial of this
13   case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii)
14   and (iv), and Local Codes T2 (unusual and complex case) and T4 (reasonable time for defense counsel to
15   prepare). It is further ordered that the August 22, 2011, motions hearing date shall be continued to
16   September 6, 2011, at 1:30 p.m.
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18
        IT IS SO ORDERED.
19
     Dated: July 14, 2011                                /s/ Oliver W. Wanger
20   emm0d6                                         UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Motions Schedule
     and Hearing; Order                                      3
